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 6
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 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                    EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-161 GEB
12
                                    Plaintiff,            STIPULATION REGARDING EXCLUDABLE
13                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                             v.                           [PROPOSED] FINDINGS AND ORDER
14
     ANDREW KIMURA, et al.,
15
                                   Defendants.
16

17
                                                  STIPULATION
18
            1.       By previous order, this matter was set for status on February 12, 2016.
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            2.       By this stipulation, defendants now move to continue the status conference until May 20,
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     2016, and to exclude time between February 12, 2016, and May 20, 2016, under Local Code T4.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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            a)       The government has represented that the discovery associated with this case includes 800
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     pages of interview reports and documents obtained through the investigation and 90 discs containing
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     audio and video files. All of this discovery has been produced directly to counsel.
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            b)       Counsel for defendants desire additional time need additional time to review the
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     discovery and investigate the case, including to conduct legal research as to any potential defenses, and
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     to discuss the matter with their clients.
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        1
30    FINDINGS AND ORDER
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 1          c)       Further, counsel for defendants Robert Turchin and for Pavitar Singh will be in trial on

 2 various dates through late March and April 2016.

 3          d)       Counsel for defendants believe that failure to grant the above-requested continuance

 4 would deny counsel the reasonable time necessary for effective preparation, taking into account the

 5 exercise of due diligence.

 6          e)       The government does not object to the continuance.

 7          f)       Based on the above-stated findings, the ends of justice served by continuing the case as

 8 requested outweigh the interest of the public and the defendant in a trial within the original date

 9 prescribed by the Speedy Trial Act.
10          g)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

11 within which trial must commence, the time period of February 12, 2016 to May 20, 2016, inclusive, is

12 deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from

13 a continuance granted by the Court at defendants’ request on the basis of the Court’s finding that the

14 ends of justice served by taking such action outweigh the best interest of the public and the defendant in

15 a speedy trial.

16          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]         2
30    FINDINGS AND ORDER
              Case 2:15-cr-00161-WBS Document 66 Filed 02/12/16 Page 3 of 3


 1         IT IS SO STIPULATED.

 2
     Dated: February 10, 2016                            BENJAMIN B. WAGNER
 3                                                       United States Attorney
 4                                                       /s/ Todd A. Pickles
                                                         TODD A. PICKLES
 5                                                       Assistant United States Attorney
 6

 7 Dated: February 10, 2016                              /s/ Todd A. Pickles for
                                                         WILLIAM PORTANOVA, ESQ.
 8
                                                         Counsel for Defendant
 9                                                       Andrew Kimura

10
     Dated: February 10, 2016                            /s/ Todd A. Pickles for
11                                                       ANTHONY CAPOZZI, ESQ.
                                                         Counsel for Defendant
12                                                       Pavitar Dosangh Singh
13

14 Dated: February 10, 2016                              /s/ Todd A. Pickles for
                                                         ADAM J. KROLIKOWSKI, ESQ.
15                                                       Counsel for Defendant
                                                         Robert Turchin
16

17 Dated: February 10, 2016                              /s/ Todd A. Pickles for
                                                         EDWARD SWANSON, ESQ.
18                                                       Counsel for Defendant
19                                                       Mangal Gill

20
21
                                            FINDINGS AND ORDER
22
           IT IS SO FOUND AND ORDERED.
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     Dated: February 11, 2016
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   3
30    FINDINGS AND ORDER
